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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
 __________________________________________________________________________

 APRIL PARCHMAN, as Administrator     )
 Ad Litem for Cause of Action Only on )
 behalf of the Estate of Jeffrey Parchman,
                                      )
 and ANN PARCHMAN, individually       )
 and on behalf of all others similarly)
 situated,                            )       Case No: 2:15-cv-02819-JTF-cgc
                                      )
             Plaintiffs,              )
                                      )
 v.                                   )
                                      )
 SLM Corporation, NAVIENT CORP.,      )
 NAVIENT SOLUTIONS, INC. f/k/a        )
 SALLIE MAE INC., and SALLIE MAE )
 BANK,                                )
                                      )
             Defendants.              )
 ______________________________________________________________________________

            ORDER GRANTING MOTION FOR LEAVE TO FILE A REPLY
 ______________________________________________________________________________

         Before the Court is Defendants SLM Corporation, Navient Corporation, Sallie Mae Bank

 and Navient Solutions, LLC ”) Motion for Leave to File a Reply to Plaintiffs’ Response in

 Opposition to Motion to Preclude Class Certification and Strike Class Allegations that was filed

 on February 6, 2019. (ECF No. 146.) The motion is well- taken. Accordingly, Defendants are

 granted leave to file a reply.



             IT IS SO ORDERED on this 11th day of February, 2019.


                                                    s/John T. Fowlkes, Jr.
                                                    JOHN T. FOWLKES, JR.
                                                    UNITED STATES DISTRICT JUDGE
